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                                     LegitScript International Healthcare Merchant Standards
                                                                    Show the world you operate legitimately in your jurisdiction, and anywhere your customers are located.

                                                                                                                         Healthcare Merchant Websites
If you facilitate the sale or prescribing of pharmaceuticals or other regulated healthcare products, or advertise or market healthcare products, some or all of these standards likely apply to
you.

l. Licensure or Registration

If facilitating prescribing or dispensing, the applicant must only facilitate the dispensing or prescribing of drugs by pharmacies or medical practitioners that are licensed or registered in good standing to operate a pharmacy, or engage in the practice of
pharmacy or medicine in all required jurisdictions. This includes the jurisdiction from which the drugs are dispensed or prescribed and the jurisdiction to which the drugs are offered to be shipped and the patient's jurisdiction, except in circumstances
allowed by law.


2. Controlled Substances

Laws governing controlled substances vary by country. The applicant must be in compliance with all applicable laws and regulations for controlled substances. For example, any dispensing pharmacy or prescribing practitioner, if dispensing or prescribing
controlled substances to US residents, must be registered with the US Drug Enforcement Administration (DEA), and must be in compliance with DEA rules and regulations.


3. Prior Discipline

The applicant, including any manufacturer, wholesaler, pharmacy, its pharmacists, and any medical practitioner associated with the website or business must not have been subject to significant recent and/ or repeated disciplinary sanctions, warning letters
or similar regulatory action .


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The applicant, includ ing any manufacturer, wholesaler, pharmacy, its pharmacists, and any medical practitioner associated with the website or business must not have been subject to significant recent and/ or repeated disciplinary sanctions, warning letters
or similar regulatory action .


4. Applicant Location

All pharmacies that dispense d rugs on behalfof the website must be domiciled in the ju risd iction to wh ich the website offers to ship drugs, except where reciprocity exists, drug importation is expressly perm itted as a matter of law, or other lega l authority
permits or does not requ ire the pharmacy to be domici led in the ju risdiction . Medical practitioners must be domiciled o r recognized in the patient's jurisdiction, unless otherwise expressly permitted as a matter of law.


5. Validity of Prescription

The applicant or, if applicable, website sha ll dispense or offer to dispense prescription drugs only upon receipt of a valid prescription, as defined below, issued by a person aut horized to prescribe under applicable laws. A pharmacy must not distribute or
offer to distribute, and a practitioner must not prescribe or offer to prescribe, prescriptions or prescription drugs solely on the basis of an online questionnaire or consultation. Such a method is only valid with a pre-existing patient-prescriber relationshi p that
has included a face-to-face physical examination, except as explicitly permitted under applicable telemedicine laws or regulations. A " valid prescription " is one issued pursuant to a legitimate patient-prescriber relationship, which requi res the following to
have been established : a) The patient has a legitimate medical complaint; b) A face-to-face physical exami nation adequate to establish the legitimacy of the medical complaint has been performed by the prescribing practitioner, or through a telemedicine
practice approved by the appropriate practitioner boa rd; and c) A logical connection exists between the medical complaint, the medica l history, and the physical examination and the drug prescribed . This definition of a valid p rescription may be modified
upon a showing that the prescribing and dispensing of the drug, as well as the location of the patient, all occur or exist within a ju risdiction that has expressly authorized , by statute, regulation, or other appl icable law, alternate requirements for a valid
prescription .


6. Legal Compliance

The applicant must comply w ith all provisions of applicable laws. For the US, this includes but is not limited to state laws and regu lations; the Federal Food , Drug , and Cosmetic Act; and the Federal Controlled Substances Act. In Japan, this includes the
yakujiho (~;;;it<), and so on . Additionally, the website or business must not facilitate the prescribing o r dispensing of, or offer to facilitate the prescribing or d ispensing of, medications that have not been approved by the US Food and Drug Administration
(FDA) or, as applicable, its counterparts in other countries . For countries other than the United States, the website and any dispensing pharmacy must adhere to all applicable pharmacy licensure, drug safety, and supply-chain laws and regu lations.


7. Privacy


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The applicant must adhere to all p rivacy laws and regulations in the jurisdictions to and from which it offers to ship drugs. For any applicant offering to facilitate the dispensing of drugs to or within the US, the transmission of any information that would be



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The applicant must adhere to all privacy laws and regulations in the jurisdictions to and from which it offers to ship drugs. For any applicant offering to facilitate the dispensing of drugs to or within the US, the transmission of any information that would be
considered Protected Health Information (PHI} under the HIPAA Privacy Rule (45 CFR 164) must occur in accordance with HIPAA requirements, including the use of Secure-Socket Layer or equivalent technology for the transmission of PHI , and for any on line
transmissions, the applicant's website must display a privacy policy that accords with the requirements of the HIPAA Privacy Rule.


8 . Patient Services

For applicants with an internet presence, the website must display an accurate street address for any dispensing pharmacy or pharmacies, and the identity and location of medical practitioners engaged in providing medical care or advice to patients. The
pharmacy or practitioner must provide an accurate, readily accessible, and responsive phone number or secure mechanism via the website, allowing patients to contact or consu lt with a pharmacist or practitioner regarding complaints or concerns, or in the
event of a possible adverse event involving their medication. This requirement may be modified to permit the listing of a pharmacy's or medical clin ic's corporate headquarters, but only in cases in which the pharmacy or medical business has multiple
dispensing pharmacies or outlets, or in cases in which the corporate headquarters' address is listed with the applicable government agency that licenses and regu lates the pharmacy.


9. Transparency

None of the applicant's business practices may engage in practices or extend offers that may deceive or defraud patients or the public in any way, including but not limited to any material detai l regarding the pharmacy, pharmacy staff, medical practitioners,
prescription d ru gs, or financia l transactions.


10. Domain Name Registration

For applicants with a website, the domain name registration information of the website must be accurate, and the domain name registrant must have a logical nexus to the d ispensing pharmacy or medical practice. Websites utilizing anonymous domain
name registration services will not be eligible for approval. Check your domain name registration at domaintools.com. If your domain name registration information is privacy-protected, contact your domain name registrar.


11. Affiliates

The pharmacy, business or medical practice, website, staff, any associated medical personnel, domain name registrant, and any person or entity that exercises control over, or participates in, t he business must not be affiliated with or control any other entity
that violates these standards.




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